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                            EXHIBiT D
                Case 3:88-cr-00239-PGS Document 16-5 Filed 09/23/20 Page 2 of 5 PageID: 1022




•‘              (3d58)heet 2    Imprisonment
tI.r    ‘‘


                               LOtI-S              NY MANN1                        Jdgment._Page        .   2   •f
      Case Number:             438:23F                                                        -




                                                         IMPRISONMENT

           Fhe defendant is hereby committed to ihe custody cf the United States Bureau of ?risons to be
     :irnprisoned fora term of   seventy (70’) ‘ers onsitin of ±wenty :.(20’) yr r
      each of Count 1 and 2, ten (10) years n each :f ounts: 3 and 4, five (5)
     years oneachof Counts 7 •and26, to run .consectjtive1y ‘Under prior law..,
     it is aduded that on Count 5 defendant s imprisoned or ater!nof ten (10)
     years, to run consecitive to other counts, for a total ‘of eighty (80) years




      Ci The Court wakes the following recommendations tothe Bureau of Piisons:
                                                                                                                r
                                                                             r,
                                                                       L..




     he defendant is remanded to the custody of .he United States Marshal.
     ‘C The defendant shall surrenderto the United States 4arsha1 forThts district,
                          a.rrL                .




         D at             p.m.on

         Ci a notified by the Marshal.
 .C] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
        Ci before 2 p.m. on
           as notified by the United States Marshal.
        Ci as notified by the Probation Office.
                                                               RETURN

        have executed this Judgment as follows:




        Defendant delivered on           i1-4gfI              to   ‘   .     *l
                                                                              ,-wIth a certified copy of this Judgment.
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           on 6/2   9, a Federal Grand Jury seated in the District
 of New       , Newaz?i New Jersey, returned an indictment against
 LOUIS ANTHONY MANNA, w&4e male1 DOp; 12/f29 at .Trcy LtNe
 rsey, SOCi                                520-61 63
          On 8/25/88, a supe>eding indictment was returned
against MANNA by Federal Grand\Tury sitting in District of New
Jersey, Newark, New Jersey.

          On 6/26/89, subject was                  guilty by jury in USDC,
DNJ, Newark, New Jersey.

          On 9/26/89, subject was sentçiced by USDJ MA.RYANN TRUMP
BARRY, DNJ, to the custody of the US Attorney General for eIghty
years for the following violations.

           20 years     -   Title 18, usq Section 1962 (C) (Count 1)
           20 years     -   Title 18, USQ, Section 1962 (d) and 2
            (Count 2)
           10 years     -   Title 18,   USC,   Section 1952 b   (Count 3)
           10 years     -   Title 18,   USC,   Section 1952 b   (Count 4)
             5 years    -   Title 29,   USC,   Section 186 b    (Count 7)
             5 years    -   Title 18,   USC,   Section 1955     (Count 26)
           10 years     -   Title 18,   USC,   Section 1952 b   (Count 5)
          The above sentences are to run consecutively.  After
completion of sentence, USDJ MARYANN TRUMP BARRY instructed that
LOUIS ANTHONY MANNA be placed on probation for a period of five
years on each conviction to run concurrently.
         Case 3:88-cr-00239-PGS Document 16-5 Filed 09/23/20 Page 4 of 5 PageID: 1024


            (3/88) Sheet 3 • Supervised Rele

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                                                                •                        •----




                                                                                                                                             —


:Defendant:               lOUIS NTi’OUY            ANN7
 Case Number:              8 8—2 39

                                                                    •         *
                                                   SUPERV1SED REUEASE                                                -
                                                                                                                         :.        i
                                                          • .   •••.•                     •&..:
                                                                                         ‘
                                                                                                                     gj;jq



     Upon release from 4mprlsonment, the
five (5) years, ccr’s.l stnc o five (‘53 y.ars                                                                  omts              an’2,
th-cci. (3)           Dr -DC cf Cotpts 3, 4, 7                                           4to rz cpurreIy

       IT       S FURTPER ADJUDGED that -tne
:.oficeaoegs                                                                         -




be J’ the ‘stazidard                           nditIon

                                                                                          j    J                                     I

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                                                                                                            •
                                                                            •‘.



                                                                        •    :    ....
                                                                                         ;.;    ‘c.      ..•.   ..                 ;••
                                                                                                                                                 J
                                                                                                   I.
                                                                                                        7--                          ••
                                                                                                                                                 -
      While on supervised release, The defendant shá11o in
 sj,aH comply WIth the standard condItions that
 page) if this judgment imposes a restitution
the derendant pay any such restitution that                                                                                              •
•ielease. The defendant shall comply with the followlftg addItio1
                                                                                              1tiDns:

                                                                                                        entf.theterm of supervised
      The defendant shall pay any fines that remain unp&datthe conin enoeni
      release.
             Case 3:88-cr-00239-PGS Document 16-5 Filed 09/23/20 Page 5 of 5 PageID: 1025



.L.                    6       -   neWIrh Soe




                                                                              Judgment—Pae            ‘
                                                                                                                 of

      Defendant:                   IOUIS ZNTHONY ‘4?.NNA
      Case Number:                 tB-239



                                                  FINE WiTh SPECIALSSESSMENT
                                                                                               i—’.        ..-.-
                                                                                                      -.




         The defendant shall pay to the United States the sum of $ 250 3 50 00            ,consisting of a fine of
      $ 20r 000.00 and a special assessment of S 5fl. nfl

       IJ These amounts are the totals of the fines and assessments imposed an individual countS,:as follows:
          .CQUYIt .1       *              ±ne oE
                                          Speci1 ssesexto $5O

           Counts 2, 3, •4 3,                   7 nd 26        —    eci1sssrent        $ 5*0 .t.0 on             ach
                                                                   Count



          These suns
                                                immediately.
                                                as follows:




         The Court has determined that the defendant does not have the abilitytó pay interest. it is ordered that:

            The interest requirement is waived.
          C The interest requirement is modified as follows:




                                                                                                            t.   t     r
                                                                           “PflJTO It
                                                                                                                           ‘
